Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 1 of 8 PageID# 3696




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division




 DARIUS DEMARCO PRAYER,

                        Petitioner,
                                                         CIVIL ACTION NO. 2:16cv213
 V.                                                      CRIMINAL ACTION NO. 2:llcr58


 UNITED STATES OF AMERICA,

                        Respondent.


                            MEMORANDUM OPINION AND ORDER

        Darius Demarco Prayer ("Petitioner") has submitted a Motion pursuant to Title 28,

 United States Code, Section 2255 to Vacate Sentence by a Person in Federal Custody ("§ 2255

 Motion"). Having thoroughly reviewed the Parties' filings in this case, the Court finds this

 matter is ripe for judicial determination. For the reasons set forth below, Petitioner's § 2255

 Motion is DENIED, and Respondent's Motion to Dismiss is GRANTED.

                        I. FACTUAL AND PROCEDURAL HISTORY

        On April 8, 2011, a Grand Jury in the Eastern District of Virginia indicted Petitioner with

 five counts. ECF No. 3. On September 14, 2011, Petitioner pled guilty to Count One and Count

 Twenty-Five of the indictment. ECF No. 280. Count One charged the Petitioner with

 participating directly or indirectly in the affairs of an enteqirise, engaged in activities affecting

 interstate commerce, through a pattern of racketeering activity, in violation of Title 18 U.S.C. §

 1962(c). Id. Count Twenty-Five charged the Petitioner with Possession of a Firearm in

 Furtherance of a Crime of Violence in violation of 18 U.S.C. § 924(c)(1)(A). Id. On January 6,

 2012, the Court adjudged Petitioner and found him guilty of Count One and Count Twenty-Five,

                                                   1
Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 2 of 8 PageID# 3697




 and sentenced him to a term of 72 months for Count One and 84 months for Count Twenty-Five,

 to be served consecutively. ECF No. 421.

        On January 12, 2015, Petitioner filed a Motion to Reduce Sentence. ECF No. 476. On

 June 15, 2015, the Court denied Petitioner's motion. On April 28,2016, Petitioner filed a Motion

 to Vacate under 28 U.S.C. § 2255 and the Supreme Court's ruling in Johnson v. UnitedStates,

     U.S.       , 135 S. Ct. 2551 (2015), and Welch v. United States,         U.S.      , 136 S. Ct.

 1257 (2016). ECF No. 498. On July 8, 2016, the Court appointed the Federal Public Defender to

 represent Petitioner in this Matter. ECF No. 516.

        On July 21, 2016, Respondent filed a Motion to Dismiss Petitioner's challenge to his

 sentence under 18 U.S.C. § 924(c). ECF No. 528. Specifically, Respondent argued Petitioner is

 not entitled to file a motion under § 2255 because the Supreme Court has not yet recognized §

 924(c)(3)(B) as unconstitutionally vague. According to Respondent, the Johnson holding does

 not invalidate § 924(c)(3)(B), leaving Petitioner without a cognizable right to assert on collateral

 review. ECF No. 528.


        On August 2, 2016, Petitioner, through legal counsel, filed a response stating,

 "Undersigned counsel has reviewed Petitioner's pro se motion, the Presentence Report ("PSR"),

 docket sheet, and other relevant documents. After evaluation of the Petitioner's pro se motion

 pursuant to § 2255 seeking relief under Johnson, undersigned counsel rests on the Petitioner's

 motion and submits no additional arguments at this time." ECF No. 101.

                                    II. LEGAL STANDARDS

        When a petitioner in federal custody wishes to collaterally attack his sentence or

 conviction, the appropriate motion is a § 2255 motion. UnitedStates v. Winestock, 340 F.3d 200,
Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 3 of 8 PageID# 3698




 203 (4th Cir. 2003). Section 2255 of Title 28 of the United States Code governs post-conviction

 relief for federal prisoners. It provides in pertinent part:

                 A prisoner in custody under sentence of a court established by Act
                 of Congress claiming the right to be released upon the ground that
                 the sentence was imposed in violation of the Constitution or laws
                 of the United States, or that the court was without jurisdiction to
                 impose such sentence, or that the sentence was in excess of the
                 maximum authorized by law, or is otherwise subject to collateral
                 attack, may move the court which imposed the sentence to vacate,
                 set aside or correct the sentence.

 28 U.S.C. § 2255(a).

         In a proceeding to vacate a judgment of conviction, the petitioner bears the burden of

 proving his or her claim by a preponderance of the evidence. Miller v. United States, 261 F.2d

 546, 547 (4th Cir. 1958). Motions under § 2255 "will not be allowed to do service for an

 appeal." Sunalv. Large, 332 U.S. 174,178 (1947). For this reason, issues already fully litigated

 on direct appeal may not be raised again under the guise of a collateral attack. Boeckenhaupt v.

 United States, 537 F.2d 1182, 1183 (4th Cir. 1976).

         When deciding a § 2255 motion, the Court must promptly grant a hearing "unless the

 motion and the files and records of the case conclusively show that the prisoner is entitled to no

 relief" 28 U.S.C. § 2255(b). Whether a hearing is mandatory for a § 2255 Motion and whether

 petitioner's presence is required at the hearing is within the district court's sound discretion and

 is reviewed for abuse of discretion. Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970)

 (citing Machibroda v. United States, 368 U.S. 487 (1962)).

                                           III. DISCUSSION


         A § 2255 motion is subject to a one-year statute of limitations. 28 U.S.C. § 2255(f). The

 beginning date for that one-year limitations period is not universal, but is dependent upon the

 motion's allegations. Petitioner's § 2255 Motion is not timely under § 2255(f)(1) because he
Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 4 of 8 PageID# 3699




 filed more than one year after his judgment of conviction became final. The motion is not timely

 under § 2255(0(2) because Petitioner alleges no unlawful governmental action that prevented

 him from filing the § 2255 Motion. The motion is not timely under § 2255(f)(4) because

 Petitioner provides no evidence of newly discovered facts that would affect his sentence.

        Petitioner argues that his motion is timely under 2255(f)(3), which states that the one-

 year time limit begins on "the date on which the right asserted was initially recognized by the

 Supreme Court, if that right has been newly recognized by the Supreme Court and made

 retroactively applicable to cases on collateral review." 28 U.S.C. § 2255(f)(3).

        "Thus, to obtain the benefit of the limitations period stated in § 2255(f)(3), [a petitioner]

 must show: (1) that the Supreme Court recognized a new right; (2) that the right 'has been ...

 made retroactively applicable to cases on collateral review'; and (3) that he filed his motion

 within one year of the date on which the Supreme Court recognized the right." United States v.

 Mathw, 685 F.3d 396, 398 (4th Cir. 2012) (quoting § 2255(f)(3)). The threshold issue for the

 Court, then, is whether this motion is timely under § 2255(f)(3). The core question of this

 timeliness inquiry is whether Petitioner is asserting a right that the Supreme Court has

 recognized.

        It is appropriate to equate the term "right," as used in § 2255(f)(3), with the term "rule,"

 as used in the Supreme Court and Courts of Appeals cases cited in this opinion. See United

 States V. Cuong Gia Le, No. 1:03-cr-48-TSE, ECF No. 691 at 13-16 (E.D. Va. Sept. 8, 2016)

 (Ellis, J.). Rather than alternate between the two terms, this opinion will use the term "rule"

 throughout, with the intent that it be read as synonymous with the "right" discussed in §

 2255(f)(3).
Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 5 of 8 PageID# 3700




        "[A] case announces a new rule when it breaks new ground .... To put it differently, a

 case announces a new rule if the result was not dictated by [existing precedent]." league v.

 Lane, 489 U.S. 288, 301 (1989) (emphasis in original). A certain result is "dictated" by existing

 precedent if that resuh is "apparent to all reasonable jurists." Lambrix v. Singletary, 520 U.S.

 518, 528 (1997). Similarly, the Fourth Circuit's "new rule" test says a rule is new unless it

 would be "objectively unreasonable" under existing law "for a judge to reach a contrary result."

 O'Dell V. Netherland, 95 F.3d 1214, 1223-24 (4th Cir. 1996). "A case does not 'announce a

 new rule, [when] it [is] merely an application of the principle that governed' a prior decision to a

 different set of facts." Chaidez v. United States, 133 S. Ct. 1103, 1107 (2013) (quoting Teague,

 489 U.S. at 307).

        A. The Johnson Decision


        The Supreme Court recognized a new rule in Johnson v. United States. In Johnson, the

 Court held that the residual clause of 18 U.S.C. 924(e)(2)(B)(ii), part of the Armed Career

 Criminal Act (ACCA), was unconstitutionally vague. Johnson, 135 S. Ct. at 2557-58, In Welch

 V. United States, 136 S. Ct. 1257 (2016), the Court made that rule retroactive to cases on

 collateral review. Welch, 136 S. Ct. at 1265. The question raised by the instant motion is

 whether § 924(c)(3)(B) is part of the rule recognized in Johnson and made retroactive in Welch.

        Petitioner argues that the similarities in language between the ACCA residual clause and

 § 924(c)(3)(B) are such that the rule applicable to the former necessarily governs the latter.

 Before the Supreme Court delivered its opinion in Johnson, the U.S. Solicitor General made this

 same argument in a Supplemental Brief to the Court. Suppl. Br. Resp't at 22, Johnson v. United

 States, 135 S. Ct. 2551 (2015) (No. 13-7120). The brief listed dozens of state and federal laws

 that employ language similar to the ACCA's residual clause, including § 924(c)(3)(B). Id. at la.
Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 6 of 8 PageID# 3701




 The purpose of this list was to encourage the Supreme Court to uphold the constitutionality of

 the ACCA residual clause, warning that a contrary decision would effectively render void the

 myriad other laws containing similar language, including § 924(c)(3)(B). Id. at 22-26. The

 Court's opinion in Johnson flatly rejected this argument:

                The Government and the dissent next point out that dozens of
                federal and state criminal laws use terms like "substantial risk,"
                "grave risk," and "unreasonable risk," suggesting that to hold the
                residual clause unconstitutional is to place these provisions in
                constitutional doubt     Not at all.

 Johnson, 135 S. Ct. at 2561,

        The Court confirmed this again in Welch, saying, "The Court's analysis in Johnson thus

 cast [sic] no doubt on the many laws that 'require gauging the riskiness of conduct in which an

 individual Petitioner engages on a particular occasion.'" Welch, 136 S. Ct. at 1262 (quoting

 Johnson, 135 S. Ct. at 2561). To meet the requirements of § 2255(f)(3), Petitioner's claim must

 be governed by a rule that the Supreme Court has recognized. When the Court created a new

 rule governing the ACCA residual clause, it also took care to clarify that this new rule does not

 put similar laws, like § 924(c)(3)(B), "in constitutional doubt." The Johnson and Welch opinions

 thwart Petitioner's argument that the rule announced in Johnson necessarily invalidates §

 924(c)(3)(B) as well.

        B. Inconsistency among Lower Courts* Decisions

        The disagreement among the lower courts regarding Johnson's application to similar

 laws is further evidence that the Supreme Court's rule in Johnson does not invalidate §

 924(c)(3)(B). To successfully claim relief under § 2255(f)(3), Petitioner would need to show

 that his claim is covered by the rule recognized in Johnson, and that he is not advocating for

 some new rule.     A rule has been recognized if it dictates a result that is "apparent to all

 reasonable jurists" (Lambrix, 520 U.S. at 528); in other words, a rule is recognized if it would be
Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 7 of 8 PageID# 3702




 "objectively unreasonable" for a judge to decide contrary to that rule {O'Dell, 95 F.3d at 1223-

 24). If this standard is not met, the rule being cited is not a recognized rule and is, therefore, a

 new rule. Additionally, while the Sixth Circuit has held § 16(b) unconstitutional in light of

 Johnson, it has distinguished § 16(b) from § 924(c)(3)(B), despite the shared identical language,

 and has upheld the latter as constitutional. Shuti v. Lynch, 828 F.3d 440,441 (6th Cir. 2016); see

 also United States v. Taylor, 814 F.3d 340,379 (6th Cir. 2016).

        The Fourth Circuit, noting this disagreement among the circuit courts, declined to decide

 whether Johnson invalidates § 924(c)(3)(B), saying that such a claim by a petitioner "would not

 survive plain error review." United States v. Graham, 824 F.3d 421, 424 n.l (4th Cir. 2016).

 The Fourth Circuit reasoned, '"An error is plain if the settled law of the Supreme Court or this

 circuit establishes that an error has occurred.'... This court has not yet addressed this claim, and

 our sister circuits have divided on the issue." Id. (quoting United States v. Carthorne, 726 F.3d

 503, 516 (4th Cir. 2013)). The Fourth Circuit's decision and reasoning imply that Petitioner's

 claim is not settled law, neither in the Supreme Court nor in this circuit, in addition to being a

 point of disagreement among the other circuit courts.

        While it is true that "[judicial] disagreement alone does not defeat a plaintiffs claim in

 every instance," it is also true that "judicial disagreement about the existence of a [rule] is

 certainly a factor we consider in determining whether a [rule] has been clearly established."

 Owens V. Baltimore City State's Att 'ys Office, 767 F.3d 379, 399 (4th Cir. 2014).

        The constitutionality of § 924(c)(3)(B) is not affected by the rule recognized in Johnson.

 Therefore, Petitioner's claim does not meet the timeliness requirements under § 2255(f)(3). In

 two cases in the Eastern District of Virginia, the Court has recently reached the same result on

 this issue, providing further support for the Court's decision. See United States v. Cuong Gia Le,
Case 2:11-cr-00058-RAJ-FBS Document 543 Filed 10/25/16 Page 8 of 8 PageID# 3703




 No. l:03-cr-48-TSE-l, ECF No. 691 (E.D. Va. Sept. 8, 2016) (Ellis, J.); see also Gray v. United

 States, No. 4:08-cr-25-RBS-FBS, ECF No. 78 (E.D. Va. Sept. 1,2016) (Smith, C.J.).

                                        IV. CONCLUSION


        For the reasons set forth above, the Court finds that Petitioner is not entitled to relief.

 Accordingly, Petitioner's § 2255 Motion is DENIED, and Respondent's Motion to Dismiss is

 GRANTED.


        Additionally, Petitioner has not set forth a specific issue that demonstrates a substantial

 showing of a denial of a constitutional right. Therefore, pursuant to 28 U.S.C. § 2253(c)(2), a

 Certificate of Appealability is DENIED.

        The Court DIRECTS the Clerk to send a copy of this Order to Petitioner and to the

 United States Attorney.

        IT IS SO ORDERED.


 Norfolk, Virginia
 October        2016
                                                               Raymond A. Jackson
                                                              United estates District Judge
